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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________


No. 22-5149                                                 September Term, 2022
                                                                       1:19-cv-03729-DLF
                                                   Filed On: July 7, 2023 [2006896]
Black Rock City LLC and Burning Man
Project,

              Appellants

       v.

Debra A. Haaland, in her official capacity as
Secretary of the United States Department
of the Interior, et al.,

              Appellees

                                       MANDATE

      In accordance with the order of July 7, 2023, and pursuant to Federal Rule of
Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk




Link to the order filed July 7, 2023
